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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF DELAWARE



 JAMES STOKES,

              Plaintiff,                             CASE NO.: 1:19-cv-02014 LPS

 vs.

 MARKEL AMERICAN INSURANCE COMPANY,

             Defendant.
 ___________________________________________




                    PLAINTIFF JAMES STOKES’ REPLY BRIEF
               IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT




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                                           ARGUMENT1

        Defendant’s Answering Brief, D.I. 102 (“Def.’s Response”), fails to show a genuine issue

 of material fact as to the cause of the loss, and thus Plaintiff should be granted summary judgment

 as a matter of law. Fed. R. Civ. P. 56(a); D.I.s 107, 108.2 Plaintiff has met his “light” burden and

 has established that a fortuitous loss occurred during the policy period. Defendant, on the other

 hand, cannot carry its burden of proving that all of Plaintiff’s damages are excluded. Plaintiff is

 therefore entitled to summary judgment.

 I.     PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT SHOULD BE GRANTED

        With regard to Plaintiff’s Motion for Summary Judgment, D.I.s 107, 108, Defendant has

 failed to come forward with sufficient facts to show a genuine factual dispute for trial. The test for

 the existence of a genuine factual dispute is whether “the evidence is such that a reasonable jury

 could return a verdict for the nonmoving party.” Anderson v. Liberty Lobby, 477 U.S. 242 (1986).

 “[T]here is no issue for trial unless there is sufficient evidence favoring the nonmoving party for a

 jury to return a verdict for that party. If the evidence is merely colorable, or is not significantly

 probative, summary judgment may be granted.” Id. at 249-50. Thus, the mere existence of a

 scintilla of evidence in support of the non-moving party’s position is insufficient. See Crowley

 Liner Servs., Inc. v. Transtainer Corp., 2007 WL 433352, at *3 (S.D. Fla. 2007). Defendant’s



 1
   Defendant’s Response briefing(s) include a thirteen-page item filed under a separate cover from
 Defendant’s “main” answering brief [D.I. 112] titled “Defendant Markel American Insurance
 Company’s Responses to Plaintiff’s Concise Statement of Undisputed Facts.” D.I. 113. Defendant
 did not seek Leave of Court to extend the twenty-page limit for dispositive motions and responses
 to same. As already noted in Plaintiff’s Response Brief to Defendant’s Motion for Summary
 Judgment, D.I. 114, n.4, the Court denied the Parties’ joint proposed stipulation for an extended
 page-limit. D.I. 97. Plaintiff respectfully requests that Defendant’s over-the-limit attempt to create
 issues of fact be disregarded by the Court. Plaintiff has been prejudiced by Defendant’s briefing
 strategies, as Plaintiff may not exceed the prescribed page limits to reply to Defendant.
 2
   Plaintiff also incorporates by reference his Answering Brief in Opposition to Defendant’s Motion
 for Summary Judgment, D.I. 114, and the arguments and attachments contained therein.
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 positions and self-serving legal conclusions in opposition to Plaintiff’s Motion do not demonstrate

 a genuine factual dispute.

 II.    DEFENDANT’S POLICY INTERPRETATION

        To begin, Defendant’s Response brief is based on an incorrect choice-of-law analysis.

 Def.’s Response, D.I. 112, p. 11 of 26.3 “The Supreme Court held in Wilburn Boat Co. that in the

 absence of a controlling rule of federal maritime law, the interpretation or construction of a marine

 insurance contract is to be determined according to state law,” Lamadrid v. Nat’l Union Fire Ins.

 Co., 567 F. App’x 695, 699 (11th Cir. 2014), here, Florida law4. Defendant has not adequately

 identified “a controlling rule of federal maritime law” with regard to the proper construction of an

 all-risks policy that, like the one at issue here, lacks any anti-concurrent-cause language.

 III.   DEFENDANT’S “EFFICIENT PROXIMATE CAUSE” ANALYSIS STILL
        REQUIRES SUMMARY JUDGMENT IN PLAINTIFF’S FAVOR

        Defendant presents a slightly different “efficient proximate cause” analysis from the one

 presented by Plaintiff.5 But even if the Court were to apply the “efficient proximate cause,” as

 analyzed in St. Paul Fire & Marine Ins. Co. v. Lago Canyon, 2008 U.S. Dist. LEXIS 142202, at

 *16-17 (S.D. Fla. Mar. 6, 2008),6 Defendant cannot seriously dispute that Hurricane Michael is



 3
   For ease of understanding, Plaintiff relies upon and references the pagination generated by the
 Case Management/Electronic Case Files system, which appears as a header on all filings.
 4
   Notably, Defendant’s Response Brief, D.I. 112, heavily relies upon cases from 11th Circuit and
 cases applying Florida law. Plaintiff maintains that Florida law applies.
 5
   Some courts note that “[t]he inclusion of an ‘anticoncurrent cause’ provision ... is designed to
 circumvent the doctrine of efficient proximate cause whereby coverage is afforded as long as the
 predominant cause of the loss is a covered peril.” Boazova v. Safety Ins. Co., 462 Mass. 346, 968
 N.E.2d 385, 394 n.4 (Mass. 2012). As it cannot be reasonably disputed that hurricane conditions
 are the “predominant cause” of Plaintiff’s loss, and without anti-concurrent cause language,
 Defendant cannot prove that all of Plaintiff’s damages are excluded. “An anti-concurrent clause is
 meant to ‘exclude[] coverage for damage caused by an excluded peril even when covered perils
 also contribute to the damage.’” Alamia v. Nationwide Mut. Fire Ins. Co., 495 F. Supp. 2d 362,
 368 (S.D.N.Y. 2007).
 6
   Defendant again relies upon a case that applies “federal admiralty law or Florida state law.” See
                                                   2
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 the “cause which is most nearly and essentially connected with the loss as its efficient cause.” Id.

 at *18 (citing Standard Oil Co. of New Jersey v. U.S., 340 U.S. 54, 57-58 (1950)).

        Defendant also cites to Tillery v. Hull & Co., 876 F.2d 1517, 1519 (11th Cir. 1989), which

 likewise supports the granting of Plaintiff’s summary-judgment motion. As noted by the Eleventh

 Circuit in Tillery, “[c]ourts analyzing problems of marine insurance causation have, as a rule,

 applied strictly the doctrine of causa proxima non remota spectatur (‘the immediate not the remote

 cause is considered’). That is to say, courts seeking to determine the cause of a vessel’s damage

 assign greater weight to the ultimate, efficient causes than to the temporally remote causes. See,

 e.g., Lanasa Fruit Steamship & Importing Co. v. Universal Insurance Co., 302 U.S. 556, 563, 58

 S. Ct. 371, 374, 82 L. Ed. 422 (1938) (noting, in admiralty case, that ‘cause which is truly

 proximate is that which is proximate in efficiency’); Blaine Richards & Co. v. Marine Indemnity

 Insurance Co., 635 F.2d 1051, 1054 (2d Cir. 1980) (to ‘trace the origins of losses back to their

 remote causes’ would violate the parties’ reasonable understandings as to the scope of coverage).”

 The record shows that the Markel Policy, see 108-2, is an “all risks” policy, and Plaintiff’s

 Hurricane Michael loss is a covered fortuitous loss.

 IV.    PLAINTIFF ESTABLISHED THAT A FORTUITOUS LOSS OCCURRED AND
        THAT THE CAUSE OF PLAINTIFF’S LOSS WAS EXTREME WEATHER FROM
        HURRICANE MICHAEL

        Defendant’s position in its Response, see generally D.I. 112, pp. 11-19 of 26, that the

 “extreme” and historic weather from Hurricane Michael was somehow not the cause of the sinking,

 flies in the face of the causation standard Defendant purports to rely upon. First, Defendant

 attempts to downplay the hurricane as “rainfall alone.” Id. at p. 15 of 26. Defendant then claims



 St. Paul Fire & Marine Ins. Co., 2008 U.S. Dist. LEXIS 142202, at *23. Notably, many of the
 opinions relied upon by Defendant to support its causation position, see id., were issued by courts
 sitting in admiralty, unlike the case at bar, where the Court sits “at law.”
                                                  3
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 that “rainfall alone is not enough to show that a sinking was accidental or fortuitous.” Id. (citing

 to the easily distinguishable Chartis Prop. Cas. Co. v. Inganamort, 2019 U.S. Dist. LEXIS 45806,

 at *13-14 (D.N.J. Mar. 20, 2019)). Defendant’s positions are incorrect and fail to establish the

 existence of a genuine factual dispute as to the cause of the loss.7

        As already noted in Plaintiff’s Response to Defendant’s summary-judgment motion, D.I.

 114, pp. 17-18, the court in Chartis found that the defendant-insureds did not present any rainfall

 data for the court to find that the seasonal, south Florida rain was “heavy.” Chartis Prop. Cas. Co.,

 2019 U.S. Dist. LEXIS 45806 at *12-13 (“For a rainfall to be ‘heavy’ in south Florida such that it

 would implicate the “fortuitous loss” rule, there must be sufficient evidence, likely from either

 meteorological data or publicly available reports, as to the rain’s severity.”). Chartis does not stand

 for the proposition that “rainfall alone is not enough” to show that a loss is fortuitous, as Defendant

 claims. Def.’s Response, D.I. 114, p. 15 of 26. Although Chartis did not concern a hurricane loss,

 as here, the opinion notes that “‘[c]ourts have held that heavy rainfall is a fortuitous event for

 purposes of recovery under an all-risk policy.’” Id. at *8 (citing Archer Daniels Midland Co. v.

 Aon Risk Servs., 2002 U.S. Dist. LEXIS 19314, 2002 WL 31185884, at *8 (D. Minn. Sept. 27,

 2002), aff’d, 356 F.3d 850 (8th Cir. 2004)).

        In the instant case, all such data, and more, has been provided to the Court by way of a

 meteorologist,8 thereby easily satisfying Plaintiff’s initial burden. The record is replete with




 7
   As previously noted, the facts on record are clear that Plaintiff’s loss was fortuitous. Plaintiff
 relies upon Stephens’ opinions and Plaintiff’s other experts (including meteorologist Mr. Brinson,
 PhD(c)), along with the testimony and opinions of Defendant’s own Corporate Representative,
 adjusters, and surveyors to establish the fortuitous nature of the loss. See Pl.’s Mot, D.I.s 108, pp.
 16-19 of 26; see also Pl.’s Answering Brief, D.I. 114 (regarding the extreme weather conditions
 in Delaware during Hurricane Michael).
 8
   Defendant’s response is silent as to Plaintiff’s Expert meteorologist, Mr. Brinson, PhD(c), and
 the weather datasets compiled. See generally Def.’s Response, D.I. 112.
                                                   4
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 evidence of “extreme” weather, wind, and heavy rainfall, including evidence proffered from both

 parties and publicly available evidence. See, e.g., Klopman Report, p. 5 of 21, of record at 108-5.

 It cannot be disputed that Plaintiff owned and operated his Vessel for two-plus years under normal,

 “non-hurricane” conditions, and did not experience any issues, design or otherwise. Defendant’s

 misapplication of law and unsupported legal conclusion that it “reasonably” disputes that weather

 from Hurricane Michael was the proximate cause of the loss is not enough to defeat Plaintiff’s

 Motion for Summary Judgment.9

 V.     PURPORTED “DESIGN DEFECTS” WERE NOT THE CAUSE OF PLAINTIFF’S
        LOSS

        Defendant’s strained arguments, which largely rely on unsupported legal conclusions,10 do

 not create genuine issues of disputed fact and do not establish that design defects were the

 proximate cause of the loss. Plaintiff has moved to strike and preclude the testimony of

 Defendant’s experts, D.I.s 98, 99, 103, and already shown why the arguments posited by

 Defendant and its experts are unreliable.11 Plaintiff incorporates by reference Plaintiff’s Response

 Brief in Opposition to Defendant’s motion, D.I. 114. Plaintiff has already addressed Defendant’s

 position on its novel “design defect” defense. Defendant points to various standards, including

 “ABYC” and “ISO,” but fails to note that Defendant’s own expert, Mr. Robert Taylor, testified



 9
    As already extensively noted in Plaintiff’s Motion and Plaintiff’s Response to Defendant’s
 Motion, the “burden of demonstrating fortuity is not a particularly onerous one.” Lamadrid
 v. Nat’l Union Fire Ins. Co., 567 F. App’x 695, 701 (11th Cir. 2014) (emphasis added). Plaintiff
 is not required to come forward with evidence regarding other vessels docked in slips outside the
 residences in Bethany Beach, Delaware. Defendant’s analysis in its Response Brief is incorrect.
 10
    To wit, Defendant’s Response states the following: “The evidence shows that, because design
 defects were the ‘predominant’ or ‘determining’ cause of the loss, that ‘rendered the loss
 inevitable,’ the proximate cause of the Vessel’s sinking was various design defects existing in the
 Vessel prior to the Policy’s effective date, and throughout the policy period to the date of loss.”
 Defendant fails to provide record support in its unfounded conclusions. The record is devoid of
 any loss or damage to Plaintiff’s Vessel aside from the hurricane loss.
 11
    As noted previously, Defendant decided not to challenge Plaintiff’s experts.
                                                  5
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  that boat manufacturers are not required to build to “ABYC” or “ISO” standards. Taylor Depo, p.

  18:2-15, of record at D.I. 105-10. Plaintiff’s retained naval architect Mr. Drew B. Hains, P.E., also

  rebuts the opinions offered by Mr. Taylor. See Hains Report, of record at D.I. 114-2.

         Defendant’s position—that Plaintiff’s Vessel was “teetering on the edge” ever since it left

  the factory—is unreasonable and illogical. Defendant attempts to bolster its argument by citing

  Mr. Taylor’s deposition testimony, regarding testing conducted by Mr. Taylor. Def.’s Response,

  D.I. 112, p. 18 of 26, n. 68. However, Mr. Taylor conceded that his post-submersion “float test”

  was to gather waterline info and that, as a result of the submersion, “the [Vessel’s] whole electrical

  system [] [was] shot” at the time of his testing. Taylor Depo, pp. 143:10-14, 144:6-9, of record at

  D.I. 105-10. Defendant does not reasonably support the position that the Vessel had been

  defectively designed for two-plus years and prior to the inception of the various policies of

  insurance. See Defendant’s argument, supra note 10.

         It is undisputed that the Vessel experienced no issue during the two-plus years Plaintiff

  owned (and Defendant insured) the Vessel prior to the loss. Now that Plaintiff has the necessity to

  use insurance, Defendant takes the improper position that Plaintiff’s Vessel should have been

  designed in a different manner.12 Regardless of the fact that the Policy does not contain anti-



  12
     In almost every marine casualty, one can imagine additional protections that, had they been in
  place, might have prevented or minimized the loss (e.g., a fire that would have been quickly
  extinguished if the vessel had a different fire suppression system). Defendant’s position, taken to
  its logical conclusion, would jeopardize coverage for every casualty, since an expert can always
  be found to say, in hindsight, that this or that component or system could have been designed
  differently to avoid or minimize a loss. When an insurer wants to be sure that the vessel has a
  certain protective device, the remedy is to write an express warranty into the policy or complete a
  pre-insurance inspection. This policy did not contain any warranty mandating that the Vessel be
  built to ABYC, ISO, or any other standard. The design-defect exclusion does not function as a
  warranty that the Vessel will be built to ABYC standards. Moreover, whether this particular
  builder built to those standards is something Defendant could have found out on its own; if
  Defendant was not comfortable insuring vessels built by this builder, it should have declined to
  insure the Vessel.
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  concurrent cause language, Defendant’s conclusion—that the design of the Vessel rather than the

  “extreme” hurricane conditions was the proximate cause of the loss—is a self-serving and

  unsupported opinion.

  VI.    DEFENDANT’S AFFIRMATIVE DEFENSES ARE PRECLUDED

         Defendant claims that the striking of affirmative defenses is “generally disfavored,” citing

  Bayer CropScience AG v. Dow AgroSciences LLC, 2011 U.S. Dist. LEXIS 149636, at *2 (D. Del.

  Dec. 30, 2011), a patent case. Defendant’s authority is inapposite, as it is “[m]otions to strike” that

  are noted as disfavored by the Bayer CropScience AG court. 2011 U.S. Dist. LEXIS 149636, at

  *2. Plaintiff’s motion is not a “motion to strike,” but a summary-judgment motion. “[T]he plain

  language of Rule 56 mandates the entry of summary judgment against a party who fails to make a

  showing sufficient to establish the existence of an element essential to that party’s case, and on

  which that party will bear the burden of proof at trial.” Schainberg v. Urological Consultants of S.

  Fla., P.A., 2013 U.S. Dist. LEXIS 208128, at *4 (S.D. Fla. Mar. 18, 2013) (citing Jones v. UPS

  Ground Freight, 683 F.3d 1283, 1292 (11th Cir. 2012) (quoting Celotex, 477 U.S. at 322)).

  “Consequently, when moving for summary judgment on affirmative defenses:

         [T]he moving party is not required to support its motion with affidavits or other
         similar material negating the opponent’s claim in order to discharge this initial
         responsibility. Instead, the moving party simply may show — that is, point out to
         the district court — that there is an absence of evidence to support the non-moving
         party’s case. Alternatively, the moving party may support its motion for summary
         judgment with affirmative evidence demonstrating that the non-moving party will
         be unable to prove its case at trial.

  Id. at *4-*5 (citations omitted). Plaintiff has done just that, and Defendant has wholly failed to

  satisfy its burden to come “forward with evidence sufficient to support their affirmative defenses

  in response to Plaintiff’s Motion.” Id. at *5. Summary Judgment should be granted in Plaintiff’s

  favor on Defendant’s twelve affirmative defenses as Defendant has failed to satisfy its burden.



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  VII.   DEFENDANT’S CARE, CUSTODY, AND CONTROL OF PLAINTIFF’S VESSEL
         FURTHER CONFIRMS THAT PLAINTIFF’S LOSS IS COVERED

         Defendant contends that Plaintiff is seeking “coverage by estoppel.” See Def.’s Response,

  D.I. 112, p. 21 of 26. Rather, Plaintiff is noting that Defendant acted as though the loss were

  covered and now seeks to change its position. Plaintiff does not “misstate” or misinterpret

  Defendant’s 30(b)(6) Corporate Representative’s testimony. Defendant’s 30(b)(6) Representative,

  Ms. Katherine Christodoulatos, specifically testified as follows:




  Corporate Representative Depo, pp. 193:24-194:24; see also pp. 101:22-105:13, of record at D.I.

  108-1. As noted in Plaintiff’s Motion, it is undisputed that Defendant paid invoices before

  “reserving rights,” including Indian River Marina Invoice number 12756, paying $1,320.50 for

  storage and for repair work. Since Defendant treated Plaintiff’s loss as a covered loss in accordance

  with the Policy, Defendant should not now be heard to argue otherwise.


                                                   8
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         Defendant claims that the “Protect and Recover” clause does not provide Defendant with

  an obligation. Def.’s Response, p. 23 of 26. Plaintiff disagrees. As noted in Plaintiff’s Motion, the

  protect and recover clause in the Policy does provide Defendant with an affirmative obligation to

  pay reasonable costs “in the event of a covered loss”:




  Subject Policy, p. 8, of Record at D.I. 108-2.

         Equally unavailing is Defendant’s attempt to characterize its payments, including payment

  prior to any purported “reservation of rights,” as something other than a concession of liability.13

  As discussed above, Defendant’s 30(b)(6) Corporate Representative could not provide an adequate

  policy-based justification for the payments made. As there is no identified “controlling rule of

  federal maritime law” on Plaintiff’s position, Florida law applies. Plante v. USF & G Specialty

  Insurance Co., No. 03-23157-CIV, 2004 WL 1429932, at *2 n.1 (S.D. Fla. 2004). Defendant also

  asserts that it “denied liability as to any of Plaintiff’s claims,” a denial that was issued only after

  Plaintiff filed his Motion for Summary Judgment (previously Defendant had claimed that a

  coverage decision was yet to be issued).14 The facts show that Defendant issued partial payment

  on Plaintiff’s “covered loss,” without any Policy justification or excuse and prior to a “reservation

  of rights,” thereby confirming coverage on Plaintiff’s loss and estopping Defendant from

  attempting to deny coverage at this late juncture.


  13
     Plaintiff notes that after the filing of Plaintiff’s Motion for Summary Judgment, Defendant has
  now refused—some three years after the loss—to satisfy any additional payments for the storage
  of the Vessel at the Indian River Marina, the marina where Defendant chose to keep the Vessel.
  14
     Corporate Representative Depo, pp. 160:24-25; 187:18-25, of record at 108-1.
                                                    9
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  VIII. CONCLUSION

        Plaintiff respectfully requests that summary judgment be granted in his favor.




                                             Respectfully submitted,

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